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1          IN THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
2
                                 - - -
3
      PETROCHOICE HOLDINGS,      : CIVIL ACTION
4     INC.,                      :
                    Plaintiff,   :
5                v.              :
      FRANCIS S. OROBONO, JR.,   : NUMBER
6                   Defendant.   : 2:19-CV-06152
7                          - - -
8              Wednesday, February 24, 2021
9                This document contains
            "Attorneys' Eyes Only" Information
10
                                 - - -
11
12              Oral deposition of SCOTT WILLIAM
13   WILLIAMS, taken remotely via Zoom, at Myers,
14   Brier & Kelly, LLP, 425 Spruce Street,
15   Suite 200, Scranton, Pennsylvania 18503,
16   beginning at 10:40 a.m., reported
17   stenographically by Cheryl L. Goldfarb, a
18   Registered Professional Reporter, Notary
19   Public, and an approved reporter of the United
20   States District Court.
21                        - - -
22
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23                   MID-ATLANTIC REGION
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24            Philadelphia, Pennsylvania 19103

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1            Q.           Does Fran have any ownership
2    interest in Jack Williams Tire?
3            A.           No.
4            Q.           Has he ever had an ownership
5    interest?
6            A.           No.
7            Q.           Is he a W-2 employee?
8            A.           Yes.
9            Q.           The compensation that was set
10   for him at the outset of his employment in
11   October of 2018, has that changed since that
12   time?
13           A.           His base compensation, as I
14   recall, has not changed.              His bonus calculation
15   fluctuates based on the performance of the
16   company, so that portion would have changed,
17   but based on a predeterminate calculation,
18   formula.
19           Q.           And has that formula changed --
20           A.           No.
21           Q.           -- since the outset of his
22   employment?
23           A.           No.
24           Q.           All right.        Is Jack Williams


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1    Tire a distributor of automotive chemical
2    products and services?
3            A.           Yes.
4            Q.           For what manufacturer is JWT a
5    distributor?
6            A.           Currently, we are a distributor
7    for the Wynn's product line.
8            Q.           When did JWT first become a
9    distributor for the Wynn's product line?
10           A.           For the Wynn's product line?
11   I'm trying to put a date on it, but I think
12   that was sometime in 2019.
13           Q.           Okay.
14           A.           That's a guess.
15           Q.           In 2019, okay.
16                        Do you remember what time of
17   year?
18           A.           I think it was the second half
19   of the year.       But I -- you know, I can't put an
20   exact date on it.           It just kind of -- I know it
21   was in that year.           We've always been a
22   distributor for those types of products.                        We
23   simply made a move over to Wynn's at some point
24   in 2019.


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1          Q.             And how many times have you
2    talked to Michael Solitt?
3          A.             A number of times.
4          Q.             About the same topic.
5          A.             Yes, the same topic, at least
6    six or seven times.
7          Q.             And what were the substance of
8    those conversations?
9          A.             The conversation really
10   surrounded the basis of the lawsuit and how it
11   relates to the Wynn's product line.
12         Q.             You know, you said they
13   expressed their concern with Jack Williams
14   being a competitor with the Wynn's line of
15   products.
16                        Did you come to any type of
17   arrangement or agreement to quell that concern?
18         A.             To quell the concern, no.                  I
19   don't -- well, I think they're always willing
20   to be concerned that we are a competitor.                           But
21   we do have an arrangement that allows us to
22   continue to sell the Wynn's product line.                           They
23   provided us a list of customers.
24                        MS. DREYER:         I would object to


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1             repeat the question again?               It just
2             glitched for me for a second.
3                         MS. DREYER:         Yes, sure.
4    BY MS. DREYER:
5             Q.          I said do you recall Mr. Myers
6    ever contacting you about assisting Valvoline
7    in connection with testing reels and pumping
8    equipment at CJ's Tires in Lansdale,
9    Pennsylvania?
10                        MR. DEMPSEY:          Objection to form.
11            A.          I don't recall that
12   specifically, no.
13   BY MS. DREYER:
14            Q.          Did Mr. Orobono ever ask you for
15   the green light to place the initial Kennedy
16   order?
17            A.          Yeah.      Yes.
18            Q.          Are you aware of whether
19   Mr. Orobono ever met with a company called MCNi
20   to discuss software solutions in connection
21   with Wynn's direct and distributor channel?
22            A.          No.     I'm familiar with MCNi, but
23   I don't know of a meeting.
24            Q.          What's MCNi or what's your


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1    the beginning to middle of 2019, as we were
2    starting to draw the deal to a close.
3                         MS. DREYER:         Let me confer with
4          my co-counsel, Mr. Olafson, who is off
5          camera, but in this room.                  Just give me a
6          few minutes.          It shouldn't be long.
7                         THE WITNESS:          Okay.
8                         MS. DREYER:         But I'm almost
9          done.
10                        THE WITNESS:          No problem.
11                               - - -
12                        (Whereupon, a recess was taken
13         from 1:53 p.m. to 1:56 p.m.)
14                               - - -
15                        MS. DREYER:         I have no further
16         questions.         Thank you so much for your
17         time, Mr. Williams.
18                        MS. ALLEN:        I just have one or
19         two follow-up, real quick.
20                               - - -
21                      FURTHER EXAMINATION
22                               - - -
23   BY MS. ALLEN:
24         Q.             Mr. Williams, you testified yes


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1    to the question that Fran had asked you for the
2    green light to place the initial Kennedy order,
3    correct?
4          A.             Yes.
5          Q.             Was that before or after the
6    Kennedy Group had decided to switch automotive
7    chemical suppliers?
8          A.             I honestly can't remember if
9    that was a Kennedy order or simply opening
10   order, because we do carry inventory on that.
11   I don't know if that was slated to go right
12   into Kennedy or if that was simply going on our
13   shelves.
14                        But Fran would have been
15   responsible, as with any product line that we
16   have, to look at the opening inventory, approve
17   the opening order, things like that, and then I
18   would give final sign-off.
19         Q.             Would that have been after Ed
20   Yates had secured the Kennedy Group account?
21         A.             I can't honestly answer that.                  I
22   don't know the date.
23         Q.             You testified that you had had a
24   conversation, I believe, with Rob Walker,


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